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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )             Case No. 8:05CR253
                                               )
                       Plaintiff,              )
                                               )
       vs.                                     )
                                               )                     ORDER
JULIE A. DUNBAR,                               )
                                               )
                       Defendant.              )

       On March 3, 2006 a hearing was held on a Petition for Action on Conditions of Pretrial
Release (#79). Beau Finley represented the defendant. Assistant United States Attorney Thomas
J. Kangior represented the government.
       The court finds that the Order Setting Conditions of Release (#21) should be revoked
because the defendant is unlikely to abide by conditions of release. The court further finds that
there is no condition or combinations of conditions that would reasonably assure the defendant’s
presence for further proceedings, or the safety of the community if the defendant were to be
released upon conditions.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#79) is granted;
       2. The Order Setting Conditions of Release (#21) is hereby revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable, from
persons awaiting or serving sentence or being held in custody pending appeal. Defendant shall
be afforded a reasonable opportunity for private consultation with defense counsel. On order of
the court of the United States or on the request of an attorney for the government, the person in
charge of the correctional facility shall deliver defendant to the United States Marshal for purpose
of an appearance in connection with a court proceeding.
       Dated this 8th day of March, 2006.

                                               BY THE COURT:


                                               s/ Joseph F. Bataillon
                                               United States District Judge
